
I write separately to amplify one point: The rational basis for the legislative distinction between the application of the minimum weekly rate to scheduled injuries as opposed to nonscheduled (body-as-a-whole) injuries is found in the different methods of computation applicable to the two types of injuries. Any injury less than total loss of a scheduled member (finger, hand, foot, etc.) results in a reduction of the statutorily prescribed number of weeks allowable for that injury, while permanent partial injury *Page 1097 
to the body as a whole leaves the 300-week quotient unchanged.
That is to say, the permanent partial body-as-a-whole formula (2/3 of average weekly wage x percentage of disability x 300) has only one variable — the percentage of permanent partial disability — subject, of course, to the statutory maximum weekly payment stated in Code 1975, § 25-5-68. The application of this body-as-a-whole calculation alters the amount of the weekly payments but not the number of weeks. The payment period of 300 weeks remains unaffected regardless of the degree of the employee's permanent partial loss of earning capacity.
Not so, however, with respect to the scheduled injury formula, which reduces the number of weeks allowable according to the percentage of the employee's loss of use of the injured member. Here, the amount of the weekly payments is not determined by the employee's degree of injury. In this latter instance, the percentage of loss of use of the scheduled member affects only the number of weeks for which compensation is payable.
Thus, because of the fundamental difference between the two methods of computing compensation (one for injury of a scheduled member and the other for injury to the body as a whole), the Petitioner's challenge of the latter method as opposed to the former is without merit.
One other point which may recur on remand: The employee may
be entitled to payment for a temporary total disability immediately following the injury before the permanent partial formula is applied. This would not be true, of course, if the employer has already paid the employee for this period (either by way of compensation payments or wages), or if the employee suffered no period of total disability. If, for example, the employee was unable to return to work for a period of eight weeks following the accidental injury, this eight-week period would be compensable at the weekly rate of 2/3 of her average weekly wage, not to exceed the weekly maximum. Assuming the employee then returned to work with a permanent partial disability, the eight-week period for temporary total disability would be deducted from the original 300 weeks allowable and the compensation due for the balance of 292 weeks for permanent partial disability would be computed according to the formula set out in this Court's opinion in this case.